         Case 1:12-cv-00584-DJS Document 485 Filed 06/26/20 Page 1 of 2




UNITED STATED DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


JAN P. HOLICK, JR., STEVEN MOFFITT,
JUSTIN MOFFITT, GURWINDER SINGH,                                    NOTICE
JASON MACK, WILLIAM BURRELL and                                     OF APPEAL
TIMOTHY M. PRATT,                                                   1:12-CV-584
                                                                      (DJS)
                              Plaintiffs, on behalf of themselves
                              and all others similarly situated,

       -against-


CELLULAR SALES OF NEW YORK, LLC, and
CELLULAR SALES OF KNOXVILLE, INC.,

                              Defendants.



       PLEASE TAKE NOTICE that Plaintiffs, Jan P. Holick, Jr, Steven Moffitt, Justin

Moffitt, Gurwinder Singh, Jason Mack, William Burrell, and Timothy M. Pratt, on behalf of

themselves and all others similarly situated, hereby appeal to the United States Court of Appeals
for the Second Circuit from the Memorandum-Decision and Order of the United State District Court

for the North District of New York entered in this action on the 26th day of April, 2019, which

granted Defendant's Motion to Decertify Plaintiffs' Conditionally Certified FLSA Collective
Action, denied Plaintiffs' Motion for Class Certification pursuant to Rule 23 of the Federal Rules of

Civil Procedure and dismissed without prejudice the Opt-In Plaintiffs from the action.
       PLEASE TAKE FURTHER NOTICE that Named Plaintiffs ("Plaintiffs") Jan P. Holick,

Jr., Steven Moffitt, Justin Moffitt, Gurwinder Singh, Jason Mack, William Burrell, and Timothy M.

Pratt, on behalf of themselves and all others similarly situated, hereby appeal to the United States
Court of Appeals for the Second Circuit from the Memorandum-Decision and Order of the United
          Case 1:12-cv-00584-DJS Document 485 Filed 06/26/20 Page 2 of 2




States Distdct Court for the Northern District of New York entered in this action on the 19th day of
July, 2019, which denied Plaintiffs' Motion for Partial Summary Judgment, granted Defendants'
Motion for Summary Judgment in part, and dismissed with prejudice Plaintiffs Fifth, Sixth and
Seventh Causes of Action.

       PLEASE TAKE FURTHER NOTICE, that final judgement in this matter was entered by
the United States District Court for the Northern District of New York on the 29th day of May, 2020.

Dated: June 26,2020                          Yours, etc.
       Albany, New York
                                             GLEASON DUNN WALSH & O'SHEA

                                                        ^^^
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TO: VIA ECF
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